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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF MISSISSIPPI
                              WESTERN DIVISION

    MCCOMB CHILDREN’S CLINIC, LTD.                                       PLAINTIFF

    V.                                         CIVIL ACTION NO. 5:24-CV-48-LG-ASH

    XAVIER BECERRA, ET AL.                                           DEFENDANTS

                                   SCHEDULING ORDER

         On June 3, 2024, Plaintiff McComb Children’s Clinic, Ltd. (“MCC”) filed its

Motion for a Delay of Effective Date and Preliminary Injunction [6]. MCC asks the

Court to delay the effective date and to enjoin Defendants from enforcing a new rule

from the Department of Health and Human Services. See Nondiscrimination in

Health Programs and Activities, 89 Fed. Reg. 37522 (May 6, 2024). MCC claims it

will be irreparably injured by the new rule, which takes effect on July 5, 2024. It

seeks relief under 5 U.S.C. § 705 and Federal Rule of Civil Procedure 65.

         At the time MCC filed its motion, counsel for Defendants had not yet

appeared.1 MCC, however, certified in its motion that it served a copy on

Defendants. Further, during a June 7, 2024, status conference with the Magistrate

Judge, counsel for Defendants informed the Court they had been served with a copy

of the complaint and a copy of the motion.

         To ensure the timely, efficient, and orderly resolution of MCC’s motion, the

Court sets the following deadlines. Defendants shall file their response to the

motion and supporting memorandum brief by June 19, 2024. To the extent MCC



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    Counsel for Defendants has since entered an appearance [11].
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elects to reply, it shall do so by June 26, 2024. Any party seeking relief from these

deadlines must file a motion with the Court at least one business day prior to the

deadline and demonstrate good cause for an extension. Any party seeking an

extension must also advise the Court whether the request is opposed. L.U. Civ. R.

7(b)(10). Given the approaching July 5, 2024, effective date for the new rule, the

parties should not assume the Court will grant requests for extensions absent a

clear demonstration of good cause.

      In their briefing, the parties are encouraged to address what effect, if any, the

district court decision in Neese v. Becerra, 640 F. Supp. 3d 668 (N.D. Tex. 2022), and

the appeal of that decision pending before the Fifth Circuit, No. 23-10078 (5th Cir.),

have on the relief requested by MCC in the pending motion.

      The parties are reminded that under the Local Rules the movant’s original

and rebuttal memorandum briefs together may not exceed thirty-five pages, and the

respondent’s memorandum brief may not exceed thirty-five pages. L.U. Civ. R.

7(b)(5). If a party requires more pages to fully respond, it must seek leave of Court

at least one business day prior to the party’s filing deadline. Only reasonable

requests will be granted.

      SO ORDERED AND ADJUDGED this the 10th day of June, 2024.

                                        s/   Louis Guirola, Jr.
                                        LOUIS GUIROLA, JR.
                                        UNITED STATES DISTRICT JUDGE




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